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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                             FORT WORTH DIVISION

ROBERT DANIEL McNETT, SR.,                 §
                                           §
        Plaintiff,                         §
                                           §
v.                                         §    Civil Action No. 4:20-cv-1200-P
                                           §
COMMISSIONER, SOCIAL                       §
SECURITY ADMINISTRATION                    §
                                           §
        Defendant.                         §

ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
          OF THE UNITED STATES MAGISTRATE JUDGE

        The United States Magistrate Judge made Findings, Conclusions, and a

Recommendation in this case. ECF No. 22. No objections were filed, and the Magistrate

Judge’s Recommendation is ripe for review. The District Judge reviewed the proposed

Findings, Conclusions, and Recommendation for plain error. Finding none, the

undersigned District Judge believes that the Findings and Conclusions of the Magistrate

Judge are correct, and they are accepted as the Findings and Conclusions of the Court.

        Therefore, the Court REVERSES the Commissioner’s decision. Accordingly, this

case is REMANDED to the Commissioner for further administrative proceedings.

        SO ORDERED on this 18th day of October, 2021.
